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m av. _ no
IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE 05 JU|__ -5 PH 32 l 9

WESTERN DIVISION
lH_OlM M. GOl.lD
ARTICE JEAN RUFFIN, ) U_EP&<. U,S D“»ST!RCUTHG§LBT
Piaimirf ) th'J OF la art
)
v. ) Civil Action No. 05-2173-Ml P
)
JO ANNE B. BARNHART, )
Commissioner of Social Security )
)
Defendant )

ORDER OF REMAND

Pursuant to the power of this court to enter a judgment affirming, modifying, or reversing
the Commissioner‘s decision with remand in Social Security actions under sentence four of
section 205(g) of the Social Security Act, 42 U.S.C. § 405(g), and in light of the Commissioner‘s
motion to remand this action, this case is hereby remanded pursuant to sentence four of
42 U.S.C. § 405(g). Upon remand, the administrative law judge (“ALJ”) will develop the record
further with respect to how long Plaintiff’s first husband had been absent before she married her
second husband, and whether, under Tennessee state law, his absence dissolved Plaintiff’s first
marriage prior to her marrying her second husband, the deceased wage earner. In conducting his
analysis, the ALJ is ordered to provide specific reasons for not accepting Plaintiff’s testimony
that she and her first husband had not been together Since 1959. The reasons cited by the ALJ
shall be supported by credible evidence on the record as a whole. Plaintiff" s testimony conflicts
with the ALJ ’s finding regarding the date she separated from her first husband. Several times
during Plaintiff` s testimony, she stated that in 1959, the same year she got married, she left
Mississippi, where her first husband lived and moved to Tennessee. Also, Plaintiff stated that it

Was not true that her first marriage ended by separation on August 3, 1969. ln fact, when

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Plaintif`f was asked if` she and her first husband had a relationship after she left him in Mississippi
in 1959, she testified that she never saw him and that she never tried to find out anything about
him (Tr. 7 8, 85). Other than the one unsubstantiated statement contained in the Reconsideration
Determination, the record does not contain any other information which suggests that Plaintif`f
did not separate nom her first husband until 1969.

WHEREFORE, because the ALJ did not discount Plaintif`f"s testimony and because the
source of` the information in the Reconsideration Determination is unsubstantiated, IT IS
ORDERED that the ALJ develop the record further with respect to how long Plaintif`f’ s first
husband had been absent before she married her second husband. I'l` IS FURTHER
ORDERED that the ALJ provide specific reasons, which are substantiated by the record, for his
finding regarding the date that Plaintiff` separated from her first husband.

Based on the foregoing, this Court hereby enters a judgment reversing the decision of the
ALJ and remanding this case to the Commissioner pursuant to sentence four of 42 U.S.C. §
405(g). M Melkonyan v. Sullivan, 501 U.S. 89, lll S.Ct. 2157 (1991); Shalala v. Schaefer,
509 U.S. 292, 113 S.Ct. 2625 (1993). Upon remand, the Commissioner shall take action
consistent with this order.

SO ORDERED this i day of k ` , 2005.

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.TON PHIPPS MCCALLA
1` ED STATES DISTRICT JUDGE

 

 

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Consented to and Approved By:

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TENNSSEE

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Honorable J on McCalla
US DISTRICT COURT

